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                                   Virtual Teleconference (VTC)
                                        Access Instructions
                                    Judge Dominguez Braswell


   •    For laptop/PC - From Google Chrome (recommended) on Windows, or Safari on Mac or
        iDevice, click on the Cisco Meeting App link below to join.
        https://meet.uc.uscourts.gov/meeting/617286044?secret=sP.qIkX5dlWqFdXAEJ_Zgg
        Note: Use the default of “Continue with browser” to join the meeting.


   •     For Audio Only:

         - Phone: 571-353-2301, then enter 617286044

  All parties appearing before the Court via VTC are advised of the following Court expectations:

       1) Punctuality. Log in a few minutes before the scheduled start time and follow the VTC
          instructions provided by the Court. Identify yourself when you first log in, so the Courtroom
          Deputy knows who is present.

       2) Video Use. If the Court orders a conference or hearing by VTC, the Court expects a video
          appearance, not a telephone appearance. If you have technical issues or extenuating
          circumstances, please let the Courtroom Deputy know in advance.

       3) Business Attire. An appearance by VTC should be treated as a courtroom appearance.
          Business attire is required. Sweatshirts, gym clothes, Hawaiian shirts, t-shirts, sports team
          jerseys and pajamas are never appropriate.

       4) Distraction-Free Location. Participating in court proceedings virtually is a privilege, especially
          for attorneys and litigants who might otherwise have to travel long distances to appear in
          person. When appearing virtually, please do so from a quiet and stationary position. Silence
          other electronic devices and keep in mind that everything in the background is visible to the
          Court and other participants. Video appearances from inside your car or outdoors are not
          appropriate. If you have extenuating circumstances, please let the Courtroom Deputy know in
          advance.

       5) Mute Button. To prevent any accidental audio distractions, please mute your audio setting
          until it is your turn to speak. If another person is testifying, you may not suggest answers,
          make gestures, or otherwise coach a witness or party from off-camera.

       6) No Food or Other Items. Because a virtual appearance is a courtroom appearance, the Court
          expects professionalism in the virtual courtroom. No one should be eating, smoking, or
          chewing gum during an appearance.
